                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION


 IN RE: SOUTHEASTERN MILK                       )
 ANTITRUST LITIGATION                           )
                                                )               Master File No. 2:08-MD-1000
                                                )
 THIS DOCUMENT RELATES TO:                      )               Judge J. Ronnie Greer
 Sweetwater Valley Farm, Inc., et al.           )
 v. Dean Foods Company, et al., No. 2:07-CV-208 )

                                            JUDGMENT

        This class action matter having come before the Honorable J. Ronnie Greer, United States

 District Judge, on the motion of the Plaintiffs for final approval of class action settlements, and the

 Court having rendered its decision by Memorandum Opinion, [Doc. 1889], and Order, [Doc. 1890],

 entered this same day, and having directed the Clerk to enter final judgment as to the Settling

 Defendants:

        It is ordered that the Settlement Agreements are APPROVED in accordance with the terms

 of the Settlement Agreements pursuant to the Court’s Memorandum Opinion and Order and the

 litigation as between the Settlement Class Members and Dean Foods Company, Southern Marketing

 Agency, Inc., and James Baird is DISMISSED on the merits WITH PREJUDICE and without costs

 to any party except as provided in the Settlement Agreement.

        DATE:           June 15, 2012.
                                                                        ENTERED AS A JUDGMENT
                                                                           s/Debra C. Poplin
                                                                           CLERK OF COURT




Case 2:08-md-01000-JRG Document 1892 Filed 06/15/12 Page 1 of 1 PageID #: 85467
